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                                              September 8, 2022

Hon. H. Kenneth Schroeder, Jr.
United States Magistrate Judge
2 Niagara Square
Buffalo, New York 14202

Re:    Schneider v. City of Buffalo, et al
       18-CV-1431V(Sr)

Dear Judge Schroeder,

       I am pleased to announce the parties have agreed to resolve the matter today through
settlement. Settlement is pending circulation of settlement documents, then submission to and
approval of the claim by the Board of Education within 90 days of receipt of acceptable settlement
documents by the municipal entity. It is anticipated that payment would be issued by end of
November by the Board.

        All parties request that the summary judgment motion be held in abeyance by the Court until
the highly anticipated approval of the settlement and the filing of the stipulation of discontinuance to
conclude the matter.

                                              Yours Truly,

                                              /s/ Matthew Albert
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